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                                                                    FILED: January 31, 2025


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                       ___________________

                                            No. 24-1347
                                     (1:22-cv-00001-TSK-MJA)
                                       ___________________

        MCARDLE FAMILY PARTNERSHIP, a Pennsylvania Limited Partnership,
        individually and on behalf of others similarly situated

                      Plaintiff - Appellant

        v.

        ANTERO RESOURCES CORPORATION, a Delaware corporation; KEY OIL
        COMPANY, a West Virginia corporation; FRANKLIN L. BUTLER, an
        individual

                      Defendants - Appellees

                                       ___________________

                                            ORDER
                                       ___________________

              Upon consideration of the submissions relative to appellees’ motion to

        dismiss the appeal for lack of jurisdiction, the court grants the motion.

              Entered at the direction of Judge Gregory with the concurrence of Judge

        Richardson and Judge Rushing.

                                                For the Court

                                                /s/ Nwamaka Anowi, Clerk
